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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  TEXARKANA DIVISION

    UNITED STATES OF AMERICA                                                       PLAINTIFF
    VS.                         Criminal No. 4:05CR40017-004 and
                                             4:05CR40021-003
    LINDA KAY MARSHALL                                                           DEFENDANT

                                             ORDER
           Defendant Linda Kay Marshall’s USM number was incorrectly shown on the Judgment and
    Commitment Order issued on March 28, 2006, as 06702-010 when it should have been shown as
    06707-010.
           IT IS THEREFORE ORDERED that the USM number, 06707-010, be identified as the
    correct USM number for Defendant Linda Kay Marshall and that this order become a permanent
    attachment to the original Judgment and Commitment Order issued on March 28, 2006.
           IT IS SO ORDERED THIS 15TH DAY OF JUNE, 2006.


                                                     /s/ Harry F. Barnes
                                                     HARRY F. BARNES
                                                     UNITED STATES DISTRICT JUDGE.
